         Case 4:16-cr-00050-BSM Document 29 Filed 10/20/20 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                           CASE NO. 4:16-CR-00050-BSM

TONY DE’MON WARREN                                                            DEFENDANT

                                          ORDER

       Tony Warren’s motion for compassionate release [Doc. No. 25] is denied without

prejudice because he has failed to exhaust his administrative remedies. United States v.

Smith, 2020 WL 2487277, at *5 (E.D. Ark. May 14, 2020). Warren may refile this lawsuit

only after he exhausts his right to appeal the Bureau of Prison’s failure to bring a motion for

compassionate relief on his behalf, or thirty days after the warden has received his request

to do so. 18 U.S.C. § 3582(c)(1)(A).

       IT IS SO ORDERED this 20th day of October, 2020.


                                                     UNITED STATES DISTRICT JUDGE
